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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

 In re:                                             Chapter 11

 BOY SCOUTS OF AMERICA AND                          Case No.: 20-10343 (LSS)
 DELAWARE BSA, LLC,
                                                    (Jointly Administered)
                      Debtors.
 HARTFORD ACCIDENT AND INDEMNITY
 COMPANY AND FIRST STATE INSURANCE                  Adv. Pro. No. 20-50601 (LSS)
 COMPANY,

                      Plaintiffs,

 v.

 BOY SCOUTS OF AMERICA, et al.,

                      Defendants.

                      STIPULATION FOR EXTENSION OF TIME

          IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiffs Hartford

Accident and Indemnity Company and First State Insurance Company and Defendant General Star

Indemnity Company, that the time within which Defendant must answer, move, or otherwise

respond to the Complaint in the above-captioned adversary proceeding is extended through and

including August 27, 2020.
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Dated: July 30, 2019                                Dated: July 30, 2019
Wilmington, Delaware                                Wilmington, Delaware

BAYARD, P.A.                                        SMITH, KATZENSTEIN & JENKINS LLP

By:_/s/ Erin R. Fay                                 By:_/s/ Kathleen M. Miller
Erin R. Fay (No. 5268)                              Kathleen M. Miller (No. 2898)
Gregory J. Flasser (No. 6154)                       1000 West Street, Suite 501
600 North King Street, Suite 400                    P.O. Box 410
Wilmington, Delaware 19801                          Wilmington, DE 19899
Telephone: (302) 655-5000                           Telephone: (302) 652-8400
Facsimile: (302) 658-6395                           kmiller@skjlaw.com
Email: efay@bayardlaw.com                           bas@skjlaw.com
       gflasser@bayardlaw.com
                                                    Attorneys for Defendant General Star
- and –                                             Indemnity Company

James P. Ruggeri (admitted pro hac vice)
Joshua D. Weinberg (admitted pro hac vice)
Abigail W. Williams (admitted pro hac vice)
Shipman & Goodwin LLP
1875 K Street, NW, Suite 600
Washington, DC 20003
Tel: (202) 469-7750
Fax: (202) 469-7751

- and –

Eric S. Goldstein (admitted pro hac vice)
Shipman & Goodwin LLP
One Constitution Plaza
Hartford, CT 06103
Tel: (860) 251-5000
Fax: (860) 251-5099

Attorneys for First State Insurance Company and
Hartford Accident and Indemnity Company
